      Case 1:17-cr-00034-JRH-BKE Document 30-1 Filed 06/19/17 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *     CR 117-34
                                                 *
 REALITY LEIGH WINNER,                           *     ORDER DESIGNATING
                                                 *     CLASSIFIED INFORMATION
                                                 *     SECURITY OFFICER
                Defendant.                       *
                                                 *
                                              ********

       The Court has been made aware that this case will involve the use and discovery of

classified information. Federal law explicitly provides that federal courts must have security

procedures for the handling of classified information. See Classified Information Procedures Act,

Pub. L. 96-456 § 9, 94 Stat. 2025 (1980). Pursuant to Paragraph 2 of the Revised Security

Procedures Established Pursuant to Pub L. 96-456, 94 Stat. 2025, by the Chief Justice of the United

States for the Protection of Classified Information, the Court HEREBY APPOINTS Carli

Rodriguez-Feo, Security Specialist, as the Classified Information Security Officer in the above-

captioned matter.

       The Court FURTHER APPOINTS Debra M. Guerrero-Randall, Daniel O. Hartenstine,

Joan B. Kennedy, Shawn P. Mahoney, Maura L. Peterson, Winfield S. “Scooter” Slade, and Harry

J. Rucker III as Alternate Court Security Officers in the above-captioned matter.
Case 1:17-cr-00034-JRH-BKE Document 30-1 Filed 06/19/17 Page 2 of 2




 IT IS SO ORDERED.

 Dated this _____ day of _____________________, 2017




                                         __________________________
                                         HON. BRIAN K. EPPS
                                         UNITED STATES MAGISTRATE JUDGE




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